                          Case 4:05-cr-00117-PJH                      Document 76          Filed 03/31/06   Page 1 of 3



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                        LIDIA S. STIGLICH (CSBN 182100)
                    2   STIGLICH & HINCKLEY, LLP
                        502 Seventh Street
                    3   San Francisco, California 94103
                        Tel: 415-865-2539
                    4   Fax: 415-865-2538
                    5   Attorney for Defendant
                        DAVID DOMINGUEZ
                    6
                    7                                           UNITED STATES DISTRICT COURT
                    8                                        NORTHERN DISTRICT OF CALIFORNIA
                    9                                                 SAN FRANCISCO DIVISION
                   10
                        UNITED STATES OF AMERICA,                                          Case No. CR 05 00117 PJH
                   11
                                             Plaintiff,
                   12
                              v.                                                           STIPULATION AND [PROPOSED]
                   13                                                                      ORDER RE: CONTINUANCE OF
                                                                                           SENTENCING
                   14   DAVID DOMINGUEZ, et. al
                   15                        Defendants.
                   16                                                            /
                   17
                                   Defendant DAVID DOMINGUEZ, by and through his counsel Michael L. Hinckley,
                   18
                        Defendant RUBIN CAMPOS, by and through his counsel Suzanne Luban, and the United States
                   19
                        of America, through Assistant United States Attorney David Hall, hereby stipulate and agree to a
                   20
                        continuance of the date for sentencing from April 26, 2006, to May 31, 2006.
                   21
                                   Good cause exists for the requested continuance in that, counsel for Mr. Dominguez is
                   22
                        currently scheduled to be in trial on a serious felony matter in Santa Cruz County beginning on
                   23
                        April 24, 2006.
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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Continuance of Sentencing
Stiglich & Hinckley                                                                  -1-
                          Case 4:05-cr-00117-PJH                          Document 76      Filed 03/31/06         Page 2 of 3



                    1             United States Probation Officer Constance Cook has no objection.
                    2             IT IS SO STIPULATED.
                    3
                    4   Dated: 03/30/2006                                                        /S/
                                                                                  MICHAEL L. HINCKLEY
                    5                                                             Attorney for Defendant
                                                                                  DAVID DOMINGUEZ
                    6
                    7   Dated: 03/30/2006                                                        /S/
                                                                                  SUZANNE LUBAN
                    8                                                             Attorney for Defendant
                                                                                  RUBIN CAMPOS
                    9
                   10
                        Dated: 03/30/2006                         .                               /S/
                   11                                                             DAVID HALL
                                                                                  Assistant United States Attorney
                   12
                   13
                   14
                                                                                  ORDER
                   15
                   16             Pursuant to stipulation, the sentencing date for David Dominguez and Rubin Campos is
                   17   continued from April 26, 2006, to May 31, 2006.
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                   18             IT IS SO ORDERED.
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                                     3/31/06
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                        Dated:                                        .
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                   20                                                             HON. PHYLLIS
                                                                                          T  I S S OJ.OHAMILTON
                                                                                  United IStates District Judge
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                                                                                                     hyllis J.
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                   22
                                                                                             Judge P
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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Continuance of Sentencing
Stiglich & Hinckley                                                                 -2-
                          Case 4:05-cr-00117-PJH                      Document 76       Filed 03/31/06   Page 3 of 3



                    1
                                                                           PROOF OF SERVICE
                    2
                    3             I, the undersigned say:
                    4             I am over eighteen years of age and not a party to the above action. My business address
                    5   is 1306 Pine Street, Walnut Creek, California 94596.
                    6   On 3/30/06, I personally served via U.S. Mail a copy of the
                    7   attached on the following:
                    8
                                                         C. COOK, USPO
                    9                                    1301 Clay Street,
                                                         Oakland, California 94612
                   10
                   11
                                  I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   12
                   13   3/30/06, at Walnut Creek, California.
                   14
                        Dated: 03/30/2006                                                       /S/
                   15                                                            MICHAEL L. HINCKLEY
                                                                                 Attorney for Defendant
                   16                                                            DAVID DOMINGUEZ
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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
     Law Offices        Stip. & [Proposed] Order Re: Continuance of Sentencing
Stiglich & Hinckley                                                               -3-
